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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                    8:12CR343
       vs.                                 )
                                           )                      ORDER
GEORGE KAZARYAN,                           )
                                           )
                     Defendant.            )



        This matter is before the court on defendant's MOTION TO EXTEND PRETRIAL
MOTION DEADLINE [22]. For good cause shown, I find that the motion should be granted.
The defendant will be given an approximate 21-day extension. Pretrial Motions shall
be filed by December 24, 2012.

       IT IS ORDERED:

      1.    Defendant's MOTION TO EXTEND PRETRIAL MOTION DEADLINE [22] is
granted. Pretrial motions shall be filed on or before December 24, 2012.

       2.     The defendant is ordered to file a waiver of speedy trial as soon as
              practicable.

       3.      The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between December 3, 2012 and
December 24, 2012, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel required
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 3rd day of December, 2012.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
